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                                                                                 102nd ISR Group
                                                                                    DGS-MA
    General Information Systems Acceptable Use Policy and User Agreement
This agreement is for all users (military, civilian, and contractor) of any and all current and future networks and
Information Systems installed and operated at 102 ISRG / DGS-MA. Compliance with this agreement is mandatory.

The INDIVIDUAL provides much of the protection for the information contained in the IS. If your security alertness is
relaxed at any time, a security violation or compromise may result which could cause grave damage to national security.
In the final analysis, system security depends upon YOU, the individual user.

Place your initials in left column and digitally sign when completed indicating that you have read and understand this
user agreement. Any questions please contact any member of the 102ISRG Information Assurance Office staff.

                  1. Purpose. To emphasize your individual responsibilities when accessing 102ISRG/DGS-MA Site
                     Information Systems (IS) and resources.
                  2. General. The fundamental approach to security of Information Systems is based on the principles of
                     individual accountability and need-to-know. Procedural and technical security features incorporated into
                     systems are required to provide adequate protection for the system and the data contained within.
                  3. Policy. U.S. Government policy requires all classified information be appropriately safeguarded to ensure
                     the confidentiality, integrity, and availability of the information. Safeguards will be applied such that
                     information is accessed only by authorized persons and processes, is used only for authorized purposes,
                     retains its content integrity, is available to satisfy mission requirements, and is appropriately marked and
                     labeled. The combination of security safeguards and procedures shall assure that the system and users
                     are in compliance with ICD, DoD, NSA, DIA, USAF, ANG and 102ISRG Information Systems security
                     guidance and publications.
                  4. Individual Responsibilities. Upon receipt of your userid and password, you will have access to various
                     Information Systems that process and store classified information (For Official Use Only, Confidential,
                     Secret, Top Secret SCI). The burden of responsibility for the security of classified information stored within
                     these system ultimately rests with each person who uses or has access to the system. No matter how
                     elaborate the built-in precautions and safeguards, they provide little security if each person using the
                     system does not enact personal responsibility for security. The following are key requirements and
                     responsibilities of each individual user associated with the 102ISRG/DGS-MA Site:
                     4.1 General User Requirements:
                           a. Be a U.S. citizen

                        4.2 Account Access Control/Information Systems Protection
      JT                    a. I will not share or permit my logon userid to be used by anyone else.
                                 Individuals requiring temporary or permanent network access should only be provided access
                                through the authorization of the Information Assurance Office.
      JT                    b. I will accept responsibility for ANY and ALL activity that occurs under my individual User-ID.

      JT                          c.      I will ONLY use the access or privilege granted to me to perform authorized tasks or mission-
                                          related functions.
      JT                          d. User names and passwords will be stored and safe guarded at the same classification level of
                                     the Information Systems they permit access.
      JT                          e.      I will use the system and network, to include access to the Internet, Electronic Mail (E-mail) and
                                          network shares for only authorized purposes IAW AFI 33-200, Information Assurance (IA)
                                          Management, AFMAN 33-152, User Responsibilities And Guidance For Information Systems, AFI
                                          33-115, Air Force Information Technology (IT) Service Management, and ICD 503.
                                                          Reading of the listed documents is highly recommended but not required.
      JT                          f.      I understand that masking my identity or assuming the identity of another user is strictly
                                          prohibited, except by authorized law enforcement personnel.




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      JT                           g.      It is your responsibility to control access and utilization of any "private" files, which you have
                                           stored under your User ID/password. YOU are accountable for any use made of such files or
                                           data and for the correct classification, caveats, and any modifications made to them.

      JT                           h.      You must not access the accounts of others with the intent to read, browse, modify, copy, or
                                           delete files and directories unless they have given you specific authorization to do so.
                                           Authorization is a permissions application within the system, not sharing of password(s).
      JT                           i.      LOGOFF properly at the end of each session. If the machine will not give you the required
                                           LOGOFF response, inform your ISSO, CMOC or a System Administrator.
      JT                           j.      You must notify the Information Assurance Office Account Management personnel of TDYs
                                           exceeding 30 days or more prior to your departure.
      JT                           k.      I will not leave my workstation signed on and unattended without at least utilizing the
                                           screensaver password screen-locking function. When leaving at the end of the duty day, I will
                                           properly and completely log off the network.
      JT                           l.      I will report all security violations, system vulnerabilities, suspicious network activities, and
                                           detected viruses to the System Administrator or ISSO.
      JT                           m. Report all security incidents to the ISSO, ISSM, SSO or SA
      JT                           n.      I will comply with all computer and network security guidance issued by my unit and IA Office
                                           and will acknowledge this by going to the IAO office and acknowledging this to the ISSM.
      JT
                                   o.      I will comply with additional policies and procedures prescribed by my ISSO or Unit Security
      JT                                   Manager which may be required for operating a classified workstation.
                                   p.      I Will Immediately Report any and all classified data spillages and computer virus activities to
      JT                                   ISSM/ISSO and SSO or ISS CMOC.
                                   q.
                                All AFDGS and JWICS accounts will expire when your Information Assurance (IA) certificate
                                expires. When re-accomplishing your IA certificate please get the Information Assurance Office a
                                soft copy (saved in landscape format so we can see full date), please e-mail it to the 102ISRG
                                IA Office Niprnet group mailbox: 102 IW/IG Information Assurance Org
       JT               4.3 PASSWORDS
                                  a.      Your password is FOR YOUR EYES ONLY and WILL NOT be disclosed to, or used by, anyone else
       JT                                 regardless of the situation or circumstances.
                                  b.      You WILL NOT give out your password nor log on for any individual, whether they have access
       JT                                 to the system or not. Such disclosure to, or use by, another is considered a security violation.
                                  c.      Passwords will NOT be written down or stored in desk drawers, programmed into function
                                          keys, part of batch or login scripts, et cetera. A user storing his/her password in this manner will
       JT                                 have committed a security violation.
                                  d.      Your password must meet the complexity requirement of ICS 500-16 and the Information
                                          System you have been granted access to. Generally your password must be a minimum of 14
                                          characters in length, must consist of at least two upper case letters, two lower case letters, two
                                          numbers and two special characters (non-alpha/numeric). It cannot contain dictionary words or
                                          any information that pertains to you (i.e. date of birth, spouse or child name, pet name, etc.)
                                          will not contain multiple repeated characters, full dictionary words (in English or any other
       JT                                 languages), names, or well-known dates.
                                  e.      Report any compromise or suspected compromise of a password to the ISSO or ISSM.
       JT
                                  f.      You will change your password at least every 90 days.
       JT
                            g. You will protect your password at the classification of the system for which it is assigned.
                        4.4 Media Control
      JT
                                  a.      All Removable/Magnetic media (floppies, CD-ROM’s, etc) will be scanned for viruses using
                                          established procedures prior to opening the files on any workstation.
      JT
                                  b.      Comply with ALL rules and regulations for scanning all magnetic media that he/she introduces,
                                          mails, or transports into or out of the organization.
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      JT                          c.      I will protect all sensitive data (Privacy Act, For Official Use Only or Classified) processed,
                                          displayed, printed, or stored at my terminal using the proper guidance.

      JT                          d. I will appropriately mark any removable storage media containing sensitive/classified data.

      JT                          e.      When not in use, I will properly secure FOUO, Privacy Act, sensitive or classified data to
                                          prevent inadvertent access.

      JT                          f.      Provide appropriate classification marking, caveat and safeguard statements on all IS files,
                                          output products, and storage media.
      JT                          g.      All Removable Media for use within a 102ISRG SCIF WILL be issued by the ISSM/ISSO. All media
                                          (CD- ROMS, DVDs, Tapes, removed hard drives, OEM install disks, etc.) Entering the SCIF MUST
                                          be in-checked with the Information Assurance Office.
      JT                          h. Safeguard and report any unexpected or unrecognizable output products to the ISSO, SysAd or
                                     ISSM as appropriate. This includes both display and printed products.

      JT                          i.      Safeguard and report the receipt of any media received through any channel to the
                                          appropriate ISSO, SysAd or ISSM for subsequent virus inspection and inclusion into the media
                                          control procedures.
      JT                          j.      All media that is no longer needed or needs to be destroyed will be brought to the Information
                                          Assurance Office for destruction. All media leaving the SCIF needs to be out-checked with the
                                          Information Assurance Office.
      JT                          k.      In the event that media that has been issued is lost. That individual that signed out the media
                                          MUST report the loss to the ISSM/ISSO, SSO or ISS CMOC as soon as possible.
      JT                          l.      Suspected misuse or compromise of removable media or information contained therein must
                                          be reported to the ISSM/ISSO or SSO immediately.
      JT                          m. Network File Transfers: All Files needing to be transferred from one network to another (Low
                                     to High) may be performed by the user through the DoDIIS One-Way Transfer Service(DOTS).
                                     Any other transfers will be performed by the Information Assurance Office.(Contact us for details.)
                                     If moving down in classification, if it can't go thru T-MAN then it aint gonna happen!
                                     No files will be downgraded from any classified classification to unclassified.
                        4.5 Email
      JT                    a. USAF email systems are provided to support USAF missions. You are only authorized to use
                               email systems for official, authorized government business related to your duties.
      JT                          b. You are prohibited from transmitting fraudulent, unethical, harassing, chain letter, or personal
                                     messages and files. Do not overburden the e-mail systems with large broadcasts or group
                                     mailings.
      JT                          c. You must not send any electronic mail or other form of electronic communications by forging
                                     another user’s identity or attempt to conceal the origin of the message in any way.
      JT                          d. Receipt of prohibited or inappropriate electronic mail or files must be reported to the
                                     appropriate ISSO.

                  5. Precautions Following are several specific precautions which you must always take in order to protect
                     both yourself and the Information System from possible compromise:
       JT            5.1 You MUST practice good OPSEC awareness and consider the OPSEC implications and possible
                          vulnerabilities when posting ANY information to ANY social networking sites or commercial
                          websites.
      JT             5.2 Ensure no other person is in position to see the terminal keyboard while your password is being
                          typed.
      JT                5.3 Ensure that when you create, file, or store data, regardless of its originator, that the classification
                            and/or special handling caveats correctly apply to all material embedded within the data or file.



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                        5.4 Ensure that any data/file that you store or create does not exceed the overall classification and
      JT                special handling caveats of the Information System.
                        5.5 Ensure that all output is handled in accordance with the pertinent document security procedures.
      JT
                        5.6 Before you leave the terminal area, make sure you are logged off, all paper output is removed
      JT
                                  from the terminal area and properly secured, and any waste is appropriately shredded.

                  6. Prohibited activities:
      JT             6.1 I will not download, install or attempt to configure any software or hardware to either the
                           workstation or network server.
      JT                6.2        I WILL NOT attempt to access any files, data, software, devices or network resources which have
                                   been readily restricted to me by network permissions and/or software or hardware security
                                   mechanisms, or perform a function for which I do not have authorization. I will not attempt to
                                   access, modify or configure any system administration resources installed on any network.
      JT                6.3        I WILL NOT leave a live terminal unattended. (Log Off or engage the screen-lock.)

      JT                6.4        I WILL NOT use your computer system or resource to harass anyone.

      JT                6.5        I WILL NOT use computer assets for personal or private financial gain or illegal activities,
                                   entertainment, or other private pursuits such as gambling, betting, lottery, pornography, or any
                                   similar activity.
      JT                6.6        I WILL NOT play music or video CD/DVDs on government systems.

      JT                6.7        I WILL NOT Release, Disclose, or Alter information without the consent of the Data Owner or the
                                   Disclosure Officer’s approval. Violations may result in prosecution of military members under the
                                   Uniform Code of Military Justice, Article 92 or appropriate disciplinary action for civilian employees.
      JT                6.8        I WILL NOT Attempt to strain or test or bypass or circumvent any computer security features or
                                   mechanisms. For example, when users leave their workstation unattended without using
                                   appropriate screen lock, other users shall not use the system.
      JT                6.9        I WILL NOT Modify the system equipment or software or use it in any manner other than its
                                   intended purpose.
      JT                6.10 I WILL NOT Relocate or change any IS equipment or the network connectivity of IS equipment
                             without proper security authorization.
      JT                6.11 I WILL NOT Introduce malicious code into any IS or network.

      JT                6.12 Unauthorized use of software. You are prohibited from loading any software on any computer
                             system and/or computer network without the approval of the appropriate system administrator.
                             Generally, the system administrator will add new software. This prohibition includes commercial,
                             shareware, freeware, and government-owned software.
      JT                6.13 You are expressly prohibited from using USAF computers to make illegal copies of licensed or
                             copyrighted software. Copyrighted software must only be used in accordance with its license or
                             purchase agreement. You do not have the right to own or use unauthorized copies of software or
                             make unauthorized copies of software for yourself or others.
      JT                6.14 You are prohibited from using software that is designed to destroy data, provide unauthorized
                             access to the computer systems, or disrupt computing processes in any other way. The use of
                             viruses, worms, Trojan horses, and other invasive software is expressly forbidden. Systems subject
                             to invasive software are equipped with antivirus software, and users are required to use it. You
                             are prohibited from tampering with or turning off this antivirus software.
      JT                6.15 Use of the Information Systems for other than official government business is strictly prohibited
                             and any violation of this prohibition may result in administrative and/or punitive sanctions.

                  7. User Training:
      JT             7.1 I will ensure that my Information Assurance Certification stays current.
                                 Failure to do so will result in all your accounts being suspended.


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      JT                 7.2        I will attend/complete additional training as directed: TEMPEST, Annual Information Assurance
                                    Briefings, etc.
                  8. CREW COMM DATA SPILLAGE AND INADVERTENT DISCLOSURE:
      JT                8.1        I am aware of the capability of the Crew Comm system to connect to a lower classified level. I will
                                   constantly be aware of what security level I am communicating at and will be ever vigilant and
                                   mindful of what can and cannot be said.
      JT                8.2        In the event of inadvertent disclosure of higher classified data on a lower classified network I will
                                   IMMEDIATELY self-report the incident to the Mission Supervisor on duty and the Special Security
                                   Officer to initiate the Inadvertent Disclosure process.
      JT                8.3        I will not use the “Hot Mic” feature of Crew Comm since Hot Mic is the same as an Open Mic and
                                   is a Security Risk.

      JT          9. NOTICE AND CONSENT TO MONITORING: (cao: DTM-08-060, May 9, 2008 /Change 5, 09/25/2013)
                     By signing this document, you acknowledge and consent that when you access Department of Defense
                     (DoD) Information Systems:
                      You are accessing a U.S. Government (USG) Information System (IS) (which includes any device
                         attached to this Information System) that is provided for U.S. Government authorized use only.
                      You Consent to the following conditions:
                           o The U.S. Government routinely intercepts and monitors communications on this Information
                               System for purposes including, but not limited to, penetration testing, communications
                               security (COMSEC) monitoring, network operations and defense, personnel misconduct
                               (PM), law enforcement (LE), and counterintelligence (CI) investigations.
                           o At any time, the U.S. Government may inspect and seize data stored on this Information
                               System.
                           o Communications using, or data stored on, this Information System are not private, are
                               subject to routine monitoring, interception, and search, and may be disclosed or used for
                               any U.S. Government-authorized purpose.
                           o This information system includes security measures (e.g., authentication and access controls)
                               to protect U.S. Government interests--not for your personal benefit or privacy.
                           o Notwithstanding the above, using an Information System does not constitute consent to
                               personnel misconduct, law enforcement, or counterintelligence investigative searching or
                               monitoring of the content of privileged communications or data (including work product)
                               that are related to personal representation or services by attorneys, psychotherapists, or
                               clergy, and their assistants. Under these circumstances, such communications and work
                               product are private and confidential, as further explained below:
                                           - Nothing in this User Agreement shall be interpreted to limit the user's consent to, or in
                                               any other way restrict or affect, any U.S. Government actions for purposes of network
                                               administration, operation, protection, or defense, or for communications security. This
                                               includes all communications and data on an Information System, regardless of any
                                               applicable privilege or confidentiality.
                                             -     The user consents to interception/capture and seizure of ALL communications and data
                                                   for any authorized purpose (including personnel misconduct, law enforcement, or
                                                   counterintelligence investigation). However, consent to interception/capture or seizure
                                                   of communications and data is not consent to the use of privileged communications or
                                                   data for personnel misconduct, law enforcement, or counterintelligence investigation
                                                   against any party and does not negate any applicable privilege or confidentiality that
                                                   otherwise applies.
                                             -     Whether any particular communication or data qualifies for the protection of a
                                                   privilege, or is covered by a duty of confidentiality, is determined in accordance with
                                                   established legal standards and DoD policy. Users are strongly encouraged to seek
                                                   personal legal counsel on such matters prior to using an information system if the user
                                                   intends to rely on the protections of a privilege or confidentiality.


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                                              -     Users should take reasonable steps to identify such communications or data that the
                                                    user asserts are protected by any such privilege or confidentiality. However, the user's
                                                    identification or assertion of a privilege or confidentiality is not sufficient to create such
                                                    protection where none exists under established legal standards and DoD policy.
                                              -     A user's failure to take reasonable steps to identify such communications or data as
                                                    privileged or confidential does not waive the privilege or confidentiality if such
                                                    protections otherwise exist under established legal standards and DoD policy. However,
                                                    in such cases the U.S. Government is authorized to take reasonable actions to identify
                                                    such communication or data as being subject to a privilege or confidentiality, and such
                                                    actions do not negate any applicable privilege or confidentiality.
                                              -     These conditions preserve the confidentiality of the communication or data, and the
                                                    legal protections regarding the use and disclosure of privileged information, and thus
                                                    such communications and data are private and confidential. Further, the U.S.
                                                    Government shall take all reasonable measures to protect the content of
                                                    captured/seized privileged communications and data to ensure they are appropriately
                                                    protected.
                                   o       In cases when the user has consented to content searching or monitoring of communications
                                           or data for personnel misconduct, law enforcement, or counterintelligence investigative
                                           searching, (Le., for all communications and data other than privileged communications or
                                           data that are related to personal representation or services by attorneys, psychotherapists,
                                           or clergy, and their assistants), the U.S. Government may, solely at its discretion and in
                                           accordance with DoD policy, elect to apply a privilege or other restriction on the U.S.
                                           Government's otherwise-authorized use or disclosure of such information.
                                   o       All of the above conditions apply regardless of whether the access or use of an Information
                                           System includes the display of a Notice and Consent Banner ("banner"). When a banner is
                                           used, the banner functions to remind the user of the conditions that are set forth in this User
                                           Agreement, regardless of whether the banner describes these conditions in full detail or
                                           provides a summary of such conditions, and regardless of whether the banner expressly
                                           references this User Agreement.

 I understand that failure to comply with the network security policies and procedures that govern the networks I
 have access to may result in disciplinary action or loss of network access.
 I have completed Information Assurance (IA) Training for the year that I am completing this form. This training must
 be completed prior to signing this User Agreement. Training will be obtained through the applicable unit.

 I have read, understand, and will comply with the terms of this agreement.



                        Teixeira Jack D                                                                                     AB E-1
     PRINT Last Name, First Name, MI                                                                        Rank/Civilian Duty Title


                                   102 ISS                                                    SCOA                    508-968-7839
                           Organization                                              Office Symbol                     Duty Phone



                7/15/2021                                                                   TEIXEIRA.JAC Digitally signed by
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